            Case 1:16-cv-00874-TNM Document 12 Filed 07/14/16 Page 1 of 4




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

JERRY ALLISON                                :
                                             :
                       Plaintiff,            :
                                             :
       v.                                    : Case No. 1:16-CV-874-EGS
                                             :
                                             :
WASHINGTON METROPOLITAN                      :
AREA TRANSIT AUTHORITY                       :
                                             :
                  Defendant.                 :
________________________________             :


                        JOINT MEET AND CONFER STATEMENT

       Pursuant to Fed. R. Civ. P. 26(f) and LCvR 16.3(c) and the Court’s April 15, 2015

Minute Order, the Parties report the following:

A. Statement of the Case

       1.       Plaintiff’s Statement:

       Defendant Washington Metropolitan Area Transit Authority (“WMATA”) formerly

employed Plaintiff Jerry Allison, an African-American man, as a Storeroom Supervisor for

approximately four years, from January 2012 until June 14, 2016.

       On November 12, 2014, Plaintiff learned that he had not been selected for a Manager

position he applied for on June 8, 2016. Plaintiff was highly qualified for this Manager position.

He had intermittently served as the Acting Manager since he was hired in January 2012 and had

been serving as the full-time Acting Manager since May 2014. The hiring manager, an African-

American man, told Plaintiff that he had been selected. Before Plaintiff could be formally hired,

however, the hiring manager retired and was replaced with a Caucasian woman, Tara Wasiak.

Ms. Wasiak reopened the selection process to avoid hiring Plaintiff and selected a less-qualified
            Case 1:16-cv-00874-TNM Document 12 Filed 07/14/16 Page 2 of 4




Caucasian male, Timothy St. John. Mr. St. John became Plaintiff’s immediate supervisor.

       Plaintiff filed a charge of race discrimination with the EEOC. Shortly thereafter, Mr. St.

John began routinely assigning Plaintiff undesirable work assignments, additional work outside

of Plaintiff’s job description or area of supervision; and subjected Plaintiff to unfair heightened

scrutiny. After issuing two inaccurate performance evaluations to Plaintiff, Mr. St. John placed

Plaintiff on an unreasonable Performance Improvement Plan (“PIP”).

       On June 7, 2016, Mr. St. John informed Plaintiff that his performance on the PIP was

unsuccessful. One week later, Mr. St. John and Ms. Wasiak terminated Plaintiff’s employment,

in continued retaliation for Plaintiff’s EEOC charge of race discrimination.

       2.       Defendant’s Statement:

       WMATA denies all of the allegations of the Plaintiff. WMATA counters that Plaintiff

was not the most qualified candidate for the position he wished to obtain. In addition, WMATA

counters that Plaintiff’s termination was for a legitimate, non-discriminatory reason, namely, that

the Plaintiff failed to perform up to the standards and performance goals established by his

supervisors.

B. Joint Proposed Scheduling Plan

       1. Disposition of the Case by Dispositive Motions: There are no dispositive motions

pending. WMATA anticipates filing a dispositive motion at the conclusion of discovery. Plaintiff

does not anticipate filing a dispositive motion. The Parties propose the dispositive motions

schedule set forth in paragraph 6 below.

       2. Joinder and Amendment to Pleadings: The Parties do not anticipate the need for

additional parties. The Parties recommend that any motion to amend the pleadings, if any, should

be filed within twenty-one (21) days after the Initial Scheduling Conference. The Parties agree to



                                                  2
          Case 1:16-cv-00874-TNM Document 12 Filed 07/14/16 Page 3 of 4




revisit potential ways to limit the factual and/or legal issues in this case after completion of

discovery.

        3. Magistrate: The Parties do not consent to a magistrate judge in any matter in this

case.

        4. Settlement/Alternate Dispute Resolution: The Parties believe it is too early to

determine whether there is a realistic possibility of settlement. After engaging in some

discovery, Plaintiff intends to send Defendant a settlement demand. Plaintiff is not opposed to

ADR. The Parties agree to work together in good faith, if and when settlement discussions arise.

        5. Initial Disclosures: As the Parties will shortly commence discovery, they agree to

waive the initial disclosures otherwise required under Rule 26(a)(1), Federal Rules of Civil

Procedure.

        6. Dispositive Motions: The Parties recommend that any dispositive or partially

dispositive motion be filed within 60 days following the close of discovery; that any opposition

to a dispositive motion be filed within 30 days after service thereof; and that any reply to an

opposition be filed within 15 days following service thereof. For purposes of all pleadings,

including dispositive motions, Fed. R. Civ. P. 6(d) shall apply.

        7. Discovery: The Parties recommend a discovery deadline of December 15, 2016.

Discovery should be governed by Rule 26 and the local rules of this Court. WMATA

recommends that written notice of any Rule 30(b)(6) deposition be served on WMATA 30 days

before the scheduled date of such deposition. This is to allow time for WMATA to either

designate the correct person(s) responsive to the Plaintiff’s request or note any objections.

        8. Expert Witnesses: The Parties agree that the Plaintiff shall deliver any expert report

consistent with the requirements of Rule 26(a)(2)(B) to Defendant by September 15, 2016 and



                                                  3
         Case 1:16-cv-00874-TNM Document 12 Filed 07/14/16 Page 4 of 4




the Defendant will deliver any expert report consistent with the requirements of Rule 26(a)(2)(B)

to Plaintiff by October 15, 2016.

       9. Class Action: This matter is not a class action.

       10. Bifurcation: The Parties agree that bifurcation is not necessary.

       11. Pretrial Conference: The Parties recommend that the pretrial conference be

scheduled following the Court’s rulings on any outstanding dispositive motions.

       12. Trial Date: The Parties agree that the Court should schedule a trial date at the

pretrial conference.

       13. Electronically Stored Information: Rule 26(b)(2)(B) shall govern the limitations

on discovery of electronically stored information.

       14. Matters Appropriate for Inclusion in Scheduling Order: None at this time.



Respectfully submitted,

 _________/s/_________________                       ____________/s____________
 Rani Rolston #974042                                Michael K. Guss #465171
 August T. Johannsen (admitted pro hac vice)         Associate General Counsel
 Alan Lescht & Associates, P.C.                      WMATA- Office of General Counsel
 1050 17th Street, NW, Suite 400                     600 Fifth Street, N.W.
 Washington, D.C. 20036                              Washington, D.C. 20001
 Tel. (202) 463-6036                                 Tel. (202) 962-1468
 Fax (202) 463-6067                                  Fax (202) 962-2550
 rani.rolston@leschtlaw.com                          mkguss@wmata.com
 august.johannsen@leschtlaw.com




                                                4
